      Case 4:10-cv-00133-VEH Document 1 Filed 01/22/10 Page 1 of 7                      FILED
                                                                               2010 Jan-26 AM 11:58
                                                                               U.S. DISTRICT COURT
                   UNITED STATES DISTRICT COURT                                    N.D. OF ALABAMA
                   MIDDLE DISTRICT OF ALABAMA

Brenda J. Ballard,                       )
                                         )
      Plaintiff,                         )
                                         )        Case No.:
v.                                       )
                                         )
Jon Barry & Associates, Inc.,            )
a corporation,                           )
                                         )
      Defendant.                         )        Jury Demanded


                                COMPLAINT

      This action arises out of Defendant’s violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), and

negligent, reckless and wanton training and supervision by the Defendant in

its illegal efforts to collect a consumer debt.

                       JURISDICTION AND VENUE

1.    This Court has jurisdiction pursuant to 1692k(d) of the FDCPA, 28 U.S.C. §

      1331 and pursuant to 28 U.S.C. § 1367 for pendent state law claims.

2.    Venue is proper in this District because: a) part of the acts and transactions

      occurred here: b) Plaintiff Ballard resides here: and, c) Defendant transacts

      business here.

                                   PARTIES

3.    Plaintiff, Brenda J. Ballard (“Ballard”), is a citizen of the State of Alabama,

      residing in the Middle District of Alabama, from whom Defendant attempted
     Case 4:10-cv-00133-VEH Document 1 Filed 01/22/10 Page 2 of 7

     to collect a consumer debt she owed Stringfellow Memorial Hospital.

     Defendant demanded payment of this debt, despite the fact that Ms. Ballard

     was represented by the legal aid attorneys at the Chicago Legal Clinic’s

     Legal Advocates for Seniors and People with Disabilities program

     (“LASPD”), located in Chicago, Illinois.

4.   Defendant, Joe Barry & Associates, Inc. (“Jon Barry & Associates “), is a

     Pennsylvania corporation, that acts as a debt collector, as defined by § 1692

     of the FDCPA, because it regularly uses the mails and/or the telephone to

     collect, or attempt to collect, delinquent consumer debts. In fact, Defendant

     Jon Barry & Associates was acting as a debt collector, as that term is defined

     in the FDCPA, as to the delinquent consumer debts it attempted to collect

     from Plaintiff.

5.   From Defendant Jon Barry & Associates’ offices in Pennsylvania, it operates

     a nationwide debt collection business and attempts to collect delinquent

     debts from consumers in virtually every state, including consumers in the

     State of Alabama.

                         FACTUAL ALLEGATIONS

6.   Ms. Ballard is an elderly woman who fell behind in paying her bills. One

     such debt she was unable to pay was the debt originally owed to

     Stringfellow Memorial Hospital. This account became delinquent, and

     eventually, Defendant Jon Barry & Associates began collection action



                                     2
     Case 4:10-cv-00133-VEH Document 1 Filed 01/22/10 Page 3 of 7

     relative to these debts. Accordingly, Ms. Ballard sought the assistance of

     legal aid attorneys at the Chicago Legal Clinic’s Legal Advocates for

     Seniors and People with Disabilities program – a nationwide program to

     protect seniors and disabled persons in financial difficulties, where those

     persons have virtually no assets and their limited income is protected from

     collections.

7.   On September 2, 2009 and September 22, 2009, Ms. Ballard’s

     attorney at LASPD wrote two letters to Defendant Jon Barry &

     Associates, advising Jon Barry & Associates that Ms. Ballard was

     represented by counsel as to the Stringfellow Memorial Hospital debt,

     and directing Jon Barry & Associates to cease contacting Ms. Ballard,

     and to cease all further collection activities because Ms. Ballard was

     forced, by her financial circumstances, to refuse to pay her unsecured

     debts. Copies of these letters and the fax confirmations are attached as

     Exhibits A and B, respectively.

8.   Nonetheless, Defendant Jon Ballard & Associates called Ms. Ballard

     and left messages on September 21, 2009 at 11:59 a.m. and September

     22, 2009 at 11:53 a.m. Additionally, Defendant Jon Barry &

     Associates sent a collection letter, dated October 26, 2009, directly to

     Ms. Ballard, demanding payment of the Stringfellow Memorial

     Hospital debt. A copy of this letter is attached as Exhibit C.



                                       3
      Case 4:10-cv-00133-VEH Document 1 Filed 01/22/10 Page 4 of 7

9.    All of the collection actions complained of in this matter occurred within

      one year of the date of this Complaint.

10.   Defendant Jon Barry & Associates’ collection communications are to be

      interpreted under the “unsophisticated consumer” standard. See, Jeter v.

      Credit Bureau, 760 F.2d 1168 (11th Cir. 1985).

                                  COUNT I.

                Violation of § 1692c(a)(2) of the FDCPA –

      Communicating With A Consumer Represented By Counsel

11.   Plaintiff adopts and realleges paragraphs 1-10.

12.   Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

      communicating with a consumer if the debt collector knows the consumer is

      represented by an attorney with respect to such debt and has knowledge of,

      or can readily ascertain such attorney’s name and address. See, 15 U.S.C. §

      1692c(a)(2).

13.   Defendant knew that Plaintiff Ballard was represented by counsel in

      connection with these debts because her attorneys had informed Defendant,

      in writing, that Plaintiff Ballard was represented by counsel, and had

      directed Defendant to cease directly communicating with Plaintiff. By

      directly contacting Plaintiff, via letters and telephone calls, despite being

      advised that Ms. Ballard was represented by counsel, Defendant Jon Barry &

      Associates violated § 1692c(a)(2) of the FDCPA.



                                       4
      Case 4:10-cv-00133-VEH Document 1 Filed 01/22/10 Page 5 of 7

14.   Defendant Jon Barry & Associates’ violations of § 1692c(a)(2) of the

      FDCPA render it liable for damages, costs, and reasonable attorneys’ fees.

      See, 15 U.S.C. § 1692k.

                                COUNT II.

                 Violation of § 1692c(c) of the FDCPA –
                      Failure To Cease Collections

15.   Plaintiff adopts and realleges paragraphs 1-14.

16.   Section 1692c(c) of the FDCPA prohibits a debt collector from

      communicating with a consumer after a direction to cease

      communications, and from continuing to demand payment of a debt

      that the consumer has indicated that they refuse to pay. See, 15 U.S.C.

      § 1692c(c).

17.   Here, Plaintiff Ballard’s LASPD attorney told Defendant Jon Barry &

      Associates to cease communications, and that, because she could no

      longer afford to pay these debts, Ms. Ballard was forced to refuse to

      pay same. By continuing to communicate regarding these debts and

      demanding payment, Defendant Jon Barry & Associates violated §

      1692c(c) of the FDCPA.

18.   Defendant Jon Barry & Associates’ violations of § 1692c(c) of the

      FDCPA render it liable for damages, costs, and reasonable attorneys’

      fees. See, 15 U.S.C. § 1692k.




                                      5
            Case 4:10-cv-00133-VEH Document 1 Filed 01/22/10 Page 6 of 7

                                        COUNT III.

              Negligent, Reckless and Wanton Training and Supervision

      19.    Plaintiff adopts and realleges paragraphs 1-18.

      20.    The Defendant knew or should have known of the conduct set forth

             herein which was directed at or visited upon the Plaintiff.

      21.    The Defendant knew or should have known that said conduct was

             improper.

      22.    The Defendant negligently, recklessly and wantonly failed to train and

             supervise debt collectors in order to prevent said improper conduct.

      23.    The Defendant negligently, recklessly and wantonly failed to train and

             supervises debt collectors on the FDCPA as it related to communications

             with consumers.

      24.    The Defendant’s actions constitute negligent, reckless and wanton training

             and supervision under the common law of the state of Alabama.

      25.    As a result of the Defendant’s negligence, recklessness and wantonness, the

             Plaintiff suffered humiliation, loss of sleep, anxiety, nervousness, physical

             sickness, physical and mental suffering and pain and anguish.

                                 PRAYER FOR RELIEF

Plaintiff, Brenda J. Ballard, prays that this Court:

1. Declare that Defendant Jon Barry & Associates’ debt collection practices violated the

   FDCPA;



                                               6
            Case 4:10-cv-00133-VEH Document 1 Filed 01/22/10 Page 7 of 7

2. Declare that Defendant Jon Barry &Associates’ actions constitute negligent, reckless

   and wanton training and supervision under the common law of the state of Alabama.

3. Enter judgment in favor of Plaintiff, and against Defendant Jon Barry & Associates,

   for damages, costs, reasonable attorneys’ fees, as provided for by § 1692k(a) of the

   FDCPA; and,

4. Award the Plaintiff compensatory and punitive damages from Defendant Jon Barry &

   Associates for the physical sickness and emotional distress suffered as a result of

   FDCPA violations and negligent, reckless and wanton training and supervision in an

   amount to be determined at trial; and,

5. Grant such further relief as deemed just.

                                     JURY DEMAND

Plaintiff, Brenda J. Ballard, demands trial by jury.



       Dated: January 20, 2010                     Respectfully submitted,

       HAYS CAULEY, P.C.                           BOND, BOTES, SYKSTUS,
                                                   TANNER & EZZELL, P.C.

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                                               7
